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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                             CORPUS CHRISTI DIVISION

M.D., by her next friend, Sarah R.                §
Stukenberg, et al.,                               §
                                                  §
        Plaintiffs,                               §
                                                  §
vs.                                               §   CIVIL ACTION NO. 2:11-CV-00084
                                                  §
GREG ABBOTT, in his official capacity             §
as Governor of the State of Texas, et al.,        §
                                                  §
        Defendants.                               §

                  DEFENDANTS’ OBJECTIONS TO SPECIAL MASTER’S
                           IMPLEMENTATION PLAN

                                             Introduction


        After spending two years and $1,457,124.46 taxpayer dollars, the Special Master failed to

deliver concrete and realistic recommendations to improve Texas’s foster care system. In fact, his

Implementation Plan would cause immediate harm by placing a cap on the number of children

currently in certain foster homes and prohibiting entirely the use of others. Families would be

forced to decide which children—including those placed with grandparents, aunts, uncles, and

other relatives—to uproot from their current homes, communities, friends, and schools.

Grandparents would have to choose among their grandchildren, aunts and uncles among their

nieces and nephews.

        Beyond the actual harm caused by the Plan, the Plan does not improve the real-world

operations of the system. Really, the Plan is not a plan at all. It is a series of unfunded mandates

and directives with no guidance on how Texas should reach the sometimes vague and often

impossible objectives. The Plan ignores—and even contradicts—the positive changes already




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occurring as a result of new legislation and agency initiatives. The Plan would bog case workers

down with administrative box-checking rather than keeping them focused on providing care to the

children. And, after all the state resources spent by the Special Master, the Plan would require

Texas to develop its own plans to address certain issues that the Special Master could not figure

out.

         Texas is continually improving its foster care system. Just this last session, the Legislature

increased funding for the foster care system by $508.5 million in All Funds and $399.9 million in

General Revenue Funds from the 2016–17 biennial base and expanded the community-based care

model that changes how services are delivered. Texas should be allowed to operate and modify its

system as needed and without interference from a court-appointed Special Master. Now three years

after the trial in this case concluded, and two years after the Court’s findings, the failure of the

Plan once again highlights the complexity of the issues, particularly in light of the competing

demands for finite resources. Responsibility for determining policy priorities and implementing

best practices lies with the legislative and executive branches of government. Future decision-

makers must have the flexibility to adapt as needs change. They should not have their options

bound by the stale opinions of one Special Master. Texas objects.

                                                 Objections

         Defendants make the following objections to the Special Master’s Implementation Plan

(the “Plan”), filed December 4, 2017 (Doc. 546). These objections are organized by general

objections that apply to the entire Plan, objections that apply to common problems with many of

the items in the Plan (i.e., cluster objections), and additional more specific objections.

   1. Defendants object to the Plan in its entirety on the bases that:




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            a. Any injunctive remedy is improper because the Court’s underlying findings of class-

                wide constitutional violations are unsupported by reliable expert testimony or other

                competent, admissible evidence. The Court wholly rejected the expert testimony of the

                only expert Plaintiffs offered to prove their claims on a class-wide basis. The remaining

                anecdotal experiences of the relatively few children that Plaintiffs selected to testify do

                not constitute class-wide evidence, cannot support class-wide liability, and do not

                justify class-wide remedies.

            b. The findings of constitutional violations in the Court’s December 17, 2015,

                Memorandum Opinion (Doc. 368) are too vague to permit the remedies proposed in

                the Plan to be precisely tailored to cure those purported constitutional violations. As a

                result, there is a complete disconnect between the Court’s liability finding and the

                putative remedies in the Plan. The items in the Plan do not correspond to the harm

                Plaintiffs alleged and the Court found (albeit on insufficient evidence) nor do they

                derive from any recognized Fourteenth Amendment substantive due process right.

                Salient examples:

                     --There was no testimony whatsoever that any child in PMC (much less all children

                     in the class) ever suffered any harm for lack of access to a home-based landline,

                     and yet the Special Master has recommended installation of landlines system-

                     wide. 1 What proven constitutional injury do landlines remedy?
                           0F




                     --There was no testimony, expert or otherwise, as to whether a caseworker caseload

                     of a certain level within the Texas foster care system violated the Fourteenth

                     Amendment. (As a result, the Court candidly admitted not knowing where to draw



1
    Plan, p. 13, item 3.


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                     the constitutional line on caseloads. (Doc. 368, at 164.)) Yet, the Special Master,

                     relying solely on an internal study that set a number at 14 children per caseworker—

                     with no suggestion at all that the number was based on compliance with

                     constitutional obligations, as opposed to best practices or some other

                     constitutionally-irrelevant standard--recommended a range of 14-17 children. 2       1F




                     There was no evidence whatsoever that any child (much less all children in the

                     class) whose caseworker has a caseload of 18 or more children suffered a

                     constitutional injury. What proven constitutional injury does a caseload cap of 17

                     children remedy?

                     --There was no testimony whatsoever that having a child’s files exist in part

                     electronically and in part in hard copy, as opposed to a single electronic file, harmed

                     a single child (much less all children in the class) or that having records stored in

                     the current manner in any way lessens a caseworker’s knowledge of a child’s

                     information. Yet, the Special Master has recommended a complete and

                     extraordinarily expensive overhaul of DFPS’ computer system, an existing system

                     that in the eyes of the Executive Branch is already fully compliant with federal

                     standards, 3 to combine all records in a single electronic file system. What proven
                               2F




                     constitutional injury does a fully integrated computer system remedy?

                     --The only testimony offered about risk of harm in foster group homes was limited

                     to homes with more than six children (and as to those, Plaintiffs’ expert candidly

                     admitted she did not even attempt to analyze an unbiased sample). There was no

                     testimony whatsoever that any child in a foster group home with six or fewer


2
    Plan, p. 25, item 1.
3
    Plan, p. 11, item 1.


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                   children (much less all children in the class) ever suffered harm due to the number

                   of children in the home. Yet, the Special Master has recommended the immediate

                   (and hugely disruptive and harmful) closure of all foster group homes without

                   regard to the number of children in the home. 4 What proven constitutional injury
                                                                     3F




                   does that remedy? And, with respect to facility population, the Special Master’s

                   Plan goes beyond the claim of the Foster Group Home subclass and reaches

                   children in kinship care, a class the Court refused to certify. Despite the statistically

                   invalid evidence, which was limited solely to a “not-unbiased” subset of foster

                   group homes, the Special Master has also recommended that non-foster group

                   homes, such as kinship homes, be limited to six children. 5 There was no evidence
                                                                                 4F




                   whatsoever that any child in a kinship home with more than six children (much less

                   all such children in the non-certified class) ever suffered harm due to the number

                   of children in the home. What proven constitutional injury is remedied by

                   disrupting those kinship placements for children and breaking up siblings and

                   families?

                   --There was no testimony that allowing a caseworker supervisor also to carry a

                   caseload of any size somehow subjected any child (much less all in the class) to a

                   constitutional injury, yet the Special Master has recommended that supervisors be

                   prohibited from also serving as caseworkers for children. 6 What proven
                                                                                         5F




                   constitutional injury is remedied by that unsupported prohibition? Likewise, there

                   was no evidence whatsoever that at a certain level a supervisor to caseworker ratio



4
  Plan, p. 52, item 1.
5
  Plan, p. 53, item 2.
6
  Plan, p. 29, item 2.


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                   (any ratio) subjects any child (much less all in the class) children to harm in

                   violation of the Fourteenth Amendment. The Special Master nevertheless has

                   recommended a mandatory ratio of seven to one. 7 What proven constitutional
                                                                          6F




                   injury does that mandatory ratio remedy?

                   --The trial of this case had nothing to do with the maintenance of children’s medical

                   records or with the quantity and quality of developmental assessments for children.

                   There was no testimony that any child (much less all children in the class) suffered

                   constitutional injuries as a result of the maintenance of medical records or the lack

                   of assessments in addition to the many DFPS already does. Yet the Special Master

                   has recommended expensive and unnecessary changes to the Health Passport and

                   additional developmental assessments. 8 What proven constitutional injuries would
                                                            7F




                   those additional requirements remedy?

                   --There was no testimony whatsoever that any child in PMC (much less all children

                   in the class) ever suffered any constitutional injury from a lack of birth certificates,

                   social security cards, independent or adult living preparation services, life skills

                   assessments, Circles of Support, Transition Planning Meetings, expungement of

                   criminal records, access to post-care benefits, driver’s education courses, safe stable

                   housing upon exit from care, or encrypted email accounts. Yet the Special Master

                   includes in the Plan affirmative entitlements to, and corresponding obligations by

                   DFPS to provide these things. 9 What proven constitutional injuries would those
                                                    8F




                   additional requirements remedy?



7
  Plan, p. 29, item 1.
8
  Plan, p. 22, et seq., items 1-7.
9
  Plan, pp. 17-18, items 1-12.


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                    --There was no evidence as to any child, much less all children in the class, that

                    having unrelated children more than three years apart in age in the same room,

                    having unrelated children with different service levels in the same room, having

                    children spend a night in office, or having children under two, under six and under

                    twelve years of age reside in non-family-like settings cause a constitutional injury.

                    Yet, the Special Master calls for prohibitions of each of these arrangements. 10           9F




                    These are not remedies to evidence-based class-wide violations of recognized

                    substantive due process rights.

               None of these recommended injunctions remedies a demonstrated class-wide

               constitutional injury. It is as if the Special Master took the Court’s (unsupported)

               liability finding as carte blanche to recommend a wide range of subjectively-

               determined aspirational and ideal-world possible improvements to foster care, as one

               might expect to see in the legislative lobbying efforts of a children’s advocacy group,

               rather than correlating specific, demonstrably-effective remedies to specific policies or

               practices that reliable class-wide evidence proves to be in violation of recognized

               Fourteenth Amendment substantive due process rights. This overreach and intrusion

               into state sovereignty by the Special Master is all the more inappropriate as it is in

               derogation of the Texas Legislature’s robust recent foster care legislation. 11       10F




           c. The Special Master concludes his lead-in comments with the statement: “The numbered

               policies that follow are offered to ensure that PMC children are free from unreasonable

               risk of harm as stated in the Court’s goals of December 2015 and January 2017.” (Plan,

               p. 2, emphasis added.) The Plan therefore is based on an erroneous articulation of the


10
     Plan, pp. 43-46, items 1-6.
11
     See Attachment A, Declaration of Trevor Woodruff, attaching summaries of 85th Legislative Session.


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             substantive due process right of children in foster care. As result, the items in the Plan

             necessarily are not tailored to cure a cognizable violation of foster children’s rights

             under the Constitution. As the Court’s opinion [Doc. 368] recognized, foster children

             have a substantive-due-process right to “personal security and reasonably safe living

             conditions’; and, to obtain relief under section 1983 on a substantive-due-process

             claim, a plaintiff must prove ‘that the state official acted or failed to act despite his

             knowledge of a substantial risk of serious harm.’’” Mem. Op. pp. 15, 20 (quoting

             Hernandez ex rel. Hernandez v. Tex. Dep’t of Protective & Regulatory Servs., 380 F.3d

             872, 880-81 (5th Cir. 2004)). 12 Those standards govern this case. Because the Special
                                                 11F




             Master applied an incorrect constitutional standard, the Plan does not remedy

             constitutional violations and enforcement of its provisions is not necessary for

             Defendants to comply with the Constitution.

         d. The proposed remedies in the Recommendations Plan are overbroad insofar as they are

             not narrowly tailored to redress violations of the constitutional duty owed to a child in

             foster care, but instead seek to implement what the Special Master evidently deems

             best practices,Master’s subjective standard, for which there is no constitutional duty.

         e. The Special Master failed to demonstrate that the provisions of the Plan are the least

             intrusive into the administration of foster care by the Department of Family and

             Protective Services (DFPS).




12
   After citing the standard set forth in Hernandez, the Court then stated: “Put another way, foster children have the
right to be free from an unreasonable risk of harm.” Mem. Op., p.15 (Emphasis added.) Defendants repeat their
position that the latter “other way” articulation of the applicable standard is legally incorrect and is not the legal
equivalent of the standard in Hernandez. This false equivalency, if accepted and applied by the Special Master,
further renders his recommendations invalid.


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        f. Due to its omissions of what Defendants are currently doing in foster care as well as

             the results of the last session of the Texas Legislature, the Plan creates the decidedly

             false impression that Defendants are doing little for foster care children. The Special

             Master knows what current policies and practices are in place. See Plan Appendices A,

             and D through L. He has also been apprised of the accomplishments in the last

             legislative session and of the Department’s Continuous Self-Improvement Plan. 13 Yet,       12F




             he made no effort to recognize what Defendants are doing, either from a policy or

             practice standpoint, and failed to create a plan accordingly.

        g. There is no evidence that the proposed remedies will, in fact, cure the alleged class-

             wide constitutional violations.

        h. The Appointment Order for the Special Masters (Doc. 379) violates Fed. R. Civ. P. 53

             for the reasons stated in the objections Defendants made in their Opposed Motion to

             Stay (Doc. 370) and their Opposed Motion to Revoke Reference to Special Masters

             (Doc. 389). The Plan is the product of that improper appointment and is thus invalid.

        i. The Plan does not satisfy the Fed. R. Civ. P. 23(b)(2) requirement that final injunctive

             relief is appropriate respecting the class as a whole.

        j. Insofar as the Plan is made to apply on a class-wide basis for any class herein, its

             provisions are invalid because Plaintiffs failed to demonstrate compliance with the

             requirements of Fed. R. Civ. P. 23(a)(2) (commonality), 23(a)(3) (typicality), and

             23(b)(2) (existence of appropriate class-wide remedy), both before and after trial. In

             fact, as to the availability of a class-wide single injunctions, as required by Rule



13
  See Attachment A, Declaration of Trevor Woodruff, attaching Continuous Self Improvement Plan (the “CSIP”).
Without agreeing to the necessity or propriety of the various matters and undertakings listed by numbers in the
document, the CSIP sets forth for such areas current processes and new or planned initiatives.


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               23(b)(2), the Plan itself affirmatively demonstrates non-compliance with that very

               Rule.

           k. Throughout the Plan the Special Master provides descriptions or characterizations of

               testimony and documents in the evidentiary record and of the Court’s prior rulings.

               These descriptions and characterizations are outside the scope of the Appointment

               Order, are hearsay, and are not the best evidence of what is in the actual record. Fed.

               R. Evid. 801-02.

           l. Defendants object that the Plan, if adopted by the Court, is open-ended as to time, fails

               to meet the requirements of Rule 65, and is tantamount to a de facto receivership for

               which no lawful showing has been made.

       2. Defendants make the following additional objections that apply to specific clusters of items

           in the Plan:

           a. In many instances the Plan describes actions that are already being undertaken by

               DFPS, but are not acknowledged as such in the Plan. It also describes policies DFPS

               already has in place, but even then, only at a most generic level. Defendants object to

               these items on the basis that injunctive relief, whether affirmative or prohibitory, must

               be remedial in nature and must address a violation that is as-yet un-remedied.

               Affirmatively ordering actions that are already underway and compliance with law and

               policies that are already in place 14 is not remedial. Further, if adopted as injunctions,
                                                     13F




               these items would do nothing more than state the law and require Defendants to follow

               it. “Orders simply requiring defendants to ‘obey the law’ uniformly are found to violate

               the specificity requirement [of Fed. R. Civ. P. 65(d).]” See CHARLES ALAN



14
     See Plan Appendices A, and D through L; CSIP.


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          WRIGHT & ARTHUR R. MILLER, 11A FEDERAL PRACTICE & PROCEDURE §

          2955 (3d ed.); Meyer v. Brown & Root Construction Co., 661 F.2d 369, 373 (5th Cir.

          1981) (” A general injunction which in essence orders a defendant to obey the law is

          not permitted. An injunction must simply be framed so that those enjoined will know

          what conduct the court has prohibited.”). These objections apply to the entirety of the

          Plan and, as to express requirements to follow policy, more specifically with respect to

          each of the following items in the Plan: Page 2 item 1, Page 3 item 4, Page 11 item 2,

          Page 13 item 2, Page 14, items10-12, Page 15 items 13, 15, Page 22 item 4, Page 23

          item 4, Page 31 item 1, and Page 39 items 6-7.

       b. In many instances the Plan calls upon DFPS to create and then implement new policy.

          The Plan itself does not define new policy nor does it state whether any new policy is

          to meet a constitutional standard, best practices or some other constitutionally-

          irrelevant standard. It therefore lacks the specificity requirement of Fed. R. Civ. P.

          65(d)(1)(B). Further, if any such new policies are then enforced by injunction, the

          injunction would do nothing more than state the law and require Defendants to follow

          it. “Orders simply requiring defendants to ‘obey the law’ uniformly are found to violate

          the specificity requirement [of Fed. R. Civ. P. 65(d).]” See CHARLES ALAN

          WRIGHT & ARTHUR R. MILLER, 11A FEDERAL PRACTICE & PROCEDURE §

          2955 (3d ed.); Meyer v. Brown & Root Construction Co., 661 F.2d 369, 373 (5th Cir.

          1981) (” A general injunction which in essence orders a defendant to obey the law is

          not permitted. An injunction must simply be framed so that those enjoined will know

          what conduct the court has prohibited.”). These objections apply to each of the




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          following items in the Plan: Page 23 item 7, Page 42 item 10, Page 43 item 1, and Page

          47, item 1.

       c. In many instances the Plan, created at enormous cost (both monetary and staff

          resources) to DFPS, calls upon DFPS to submit a plan instead of the Special Master

          submitting his own proposed remedies as contemplated in the Court’s Memorandum

          Opinion and Appointment Order. Defendants object to these items on the basis that

          they improperly shift the burden of proof on remedy from the Plaintiffs to the

          Defendants. The entire progress of this case to date reflects a failure on the part of the

          Plaintiffs, their counsel, their experts, the Court (to date), and now the Special Master

          who was directed to do so, to craft and demonstrate the effectiveness of a specific

          remedy. Defendants have been cooperative and have provided information to the

          Special Masters on numerous occasions at no small cost in agency staff time, but

          development of remedies was always the Court’s order to the Special Masters, not the

          Court’s (appealable) injunction to the Defendants. It is not Defendants’ burden to prove

          Plaintiffs’ remedy. In fact, Defendants have maintained throughout this years-long

          litigation that no one—Plaintiffs, their experts, the Court, and now the Special

          Master—has demonstrated a remedy that complies with the requirements of Fed. R.

          Civ. P. 23(b)(2). That failing is now self-evident and self-proven. Defendants also

          object on the basis that phrasing a remedy with reference to plans to be submitted by

          Defendants does not meet the specificity requirement of Fed. R. Civ. P. 65(d)(1)(B).

          These objections apply generally to the Special Master’s observations in the Plan about

          Defendants not previously submitting remedial plans to him and more specifically with




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          respect to each of the following items in the Plan: Page 11 items 1-2, Page 21 item 2,

          and Page 22 item 1.

       d. Many items in the Plan obligate DFPS to “ensure” the performance of various acts, but

          does not define the term or define what level of monitoring and correction, if any,

          would satisfy the “ensure” obligation. An injunction using that term would fail to meet

          the specificity requirement of Fed. R. Civ. P. 65. If the term, via injunction, imposes a

          “zero tolerance,” absolute performance obligation, it is impossible to perform. No

          organization with thousands of employees can meet such an absolute obligation. The

          Special Master, despite considerable time and money, offers neither detail on how an

          absolute “ensure” obligation can be met nor any means to assess whether the obligation

          has been satisfied. This objection applies to each of the following items in the Plan:

          Page 2, items 1-2, Page 3 item 4, Page 11 item 2, Page 12 items 2-4 and second item 1,

          Page 13 items 2-6, Page 14 items 8-9, Page 17 items 1-5, Page 18 items 6-12, Page 21

          item 2, Page 22 item 4, Page 23 items 5-6, Page 25 item 1, Page 26 item 3, Page 29

          item 1, Page 31 items 1-2, Page 32 item 3, Page 38 items 1-2, 4-5, Page 39 items 6-11,

          Page 41 items 4 and 6-7, Page 42 items 10-11, Page 48 item 2, and Page 49 item 6.

       e. None of the classes certified by the Court include children in Temporary Managing

          Conservatorship (TMC), yet the Plan includes items that reach beyond PMC children

          and include TMC children. These items are clearly overbroad and do not constitute

          remedies for litigants with standing in this action. This objection applies to each of the

          following items in the Plan: Page 2 item 3, Page 22 items 1-3, Page 23 item 6, Page 31

          item 1, Page 32 item 3, Page 35 item 1, Page 38 items 4-5, Page 39 items 6-12, Page




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          40 items 13, 15, Page 42 items 7, 11, Page 43 item 1, Page 44 item 2, Page 47 item 1,

          and Page 48 items 2-3.

       f. Vague terminology renders the Plan unenforceable under Fed. R. Civ. P. 65(d). This

          objection applies to the specified terms and phrases in the following items in the Plan:

              Page 2 item 1— “as required”

              Page 2 item 2—“adequate,” and “adequate training”

              Page 3 item 3—“all referenced visits”

              Page 3 item 4— “assessment”

              Page 11 item 1--"integrated computer system,” "complete migration," and

              “necessary for the safety of the children”

              Page 11 item 2— “consistent with prevailing state and federal law”,” and “any

              public or private staff:

              Page 13 item 2— “consistent with the Court’s Final Order”

              Page 13 item 2—,” “pursuant to current policy and regulation, ” and “periodically”

              Page 13 item 6— “confirmation of their level of understanding”

              Page 14 item 8— “all screening decisions”

              Page 14 item 9— “referral history,” “any concerns for . . . well-being”

              Pages 14 and 15, items 10-13, 15— “in accordance with existing DFPS policies

              and administrative rules”

              Page 15 item 15—“complete”

              Page 17 items 2-3— “all other documents that law or policy entitles them to

              receive”




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                  Page 17 item 5— “disability,” “appropriate accommodations,” “meaningfully

                  participate”

                  Page 18 item 6— “life skills assessment”

                  Page 18 item 7— “permanency planning meeting every 4 months”

                  Page 18 item 8— “eligible . . . records”

                  Page 18 item 11— “provide”

                  Page 22 item 1— “address and remediate,” “consistent with”

                  Page 22 item 3— “every effort2(c) – “children’s electronic case record”

                  Page 22 item 3— “every effort,” and “make available” Pages 22-23, item 4 -

                  "medical home," "health care delivery model," "led by," "obliged (by policy and

                  contract)," “all medical fields of children’s central electronic records,”

                  "coordinate,” “timely," and "all health needs"," and “care management”

                  Page 23 item 4(a)— “central electronic record”

                  Page 23, item 5— "electronic case record"

                  Page 23, item 6— "central electronic case record," "functional,” “needed,"

                  "required," and "indicated"

                  Page 23, item 7— "health status" "electronic case record," “red flag”

                  Pages 25, 26 items 1-3— “caseload ranges” 15        14F




                  Page 26 item 1— “pro-rated accordingly”

                  Page 26 item 2— “pro-rated accordingly,” “by office”



15
   The phrase “caseload range” conveys a false impression. Despite the Special Masters’ initial statement to the
Court “we do not recommend a fixed caseload cap,” in the original recommendations (Doc. 471), in the current Plan
Special Master Ryan now recommends an injunction for a “caseload within or below the range of 14 to 17.” Plan, p.
25 item 1. That is not a range. It is a cap. If adopted by the Court, the Court will be ordering a caseload cap of 17
when there was no evidence whatsoever that all caseloads above that number caused a constitutional injury to any
child, much less all children in the class.


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              Page 29 item 1— “pro-rated accordingly”

              Page 31 item 2— “graduated caseloads”

              Page 32 item 3 – “successfully”

              Page 35 item 1— “designate all secondary workers as primary caseworkers”

              Page 38, item 2— "pro-rated"

              Page 38, item 3— "any investigative findings," and "negative child welfare

              history"," and “congregate care settings”

              Page 38, items 4, 5— "alleged child victims"

              Page 39, items 6, 7— "consistent with DFPS policy"

              Page 39, item 8— "Priority One and Priority Two investigations”

              Page 39 item 12— “under state and federal law and regulation”

              Page 40 item 13— “concerns,” “pattern of contract or policy violations,” "address,"

              "subject to," "heightened monitoring," "more frequent," "as appropriate," and

              "other remedial actions"," and “address”

              Page 40, item 14— "shall have the right"

              Page 40, item 15— "must consider," "monitor," and "appropriate corrective action"

              Page 41 items 1-2, 5— “confirmed allegations of sexual abuse”

              Page 41 items 3-5— “confirmed allegations,” “all . . . caregivers”

              Page 41 item 4— “all information”

              Page 41 item 6— "electronic case record," "high risk"

              Page 42 item 9— “all . . . caregivers”

              Page 42, items 8-9— “confirmed allegations of sexual abuse,” and " child's records"

              Page 43 item 1— “unrelated,” “no risk of harm,” “county director”




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              Page 44 item 2— “unrelated,” “no risk of harm,” “county director”

              Page 44 item 3— “DFPS senior manager”

              Page 47 item 1— “DFPS senior manager,” and “sexualized children”

              Page 49 item 5— “documented assessment”

       g. Plaintiffs have sued the Commissioner of DFPS, the Executive Commissioner of

          HHSC and the Governor. They have not sued the Texas Legislature or the State of

          Texas. The actual defendants do not have the power or authority to enact legislation or

          appropriate funds. To the extent the Plan, if and as ordered, calls for action requiring

          the passage of legislation, the appropriation of funds, or other measures outside of

          Defendants’ control, they are improper and cannot be enforced against the Defendants.

          This objection applies to each of the following items in the Plan: Page11 item 1, Page

          11 item 2, Page 14 item 8, Page 17 items3-4, Page 18 items 6-7, Page 18 item 10, Page

          18 item 12, Page 21 items 1-2, Page 22 item 2, Page 22 item 4, Page 23 items 5-7, Page

          25 item 1, Page 26 item 2, Page 26 item 3, Page 29 item 1, Page 31 item 2, Page 35

          item 1, Page 38 item 1 and 2, Page 39 item 12, Page 40 item 14, Page 41 items 1, 4,

          Page 42 item 12-13, Page 43 item 1, Page 44 item 2, Page 45 items 4-6, Page 47 item

          1, Page 48 item 2, Page 49 item 4, Page 52 item 1, and Page 53 item 2. Further,

          depending on vagueness of the items, including whether “ensure” imposes an absolute

          obligation: Page 2 items 1-3, Page 3 item 4, Page 12 items 2-4, Page 13 items 3-4, 6,

          Page 15 items 14-16, Page 17 items 1-2, 5, and Page 18 items 8-9, 11.

       h. Despite considerable compensation with taxpayer resources for expertise in the

          operation of child welfare systems, the Special Master fails to offer recommendations

          that are in any understanding of the term achievable within the recommended timelines.




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          The plan as a whole shows disregard for implementation science or even rational

          judgment regarding how to carry out systemic change across a large agency workforce.

          Defendants specifically note some of these concerns under Objection 3, below, but also

          note here that the concern applies to 44 of the Master’s 98 recommendations and

          specifically raises this concern with respect to Page 2 items 1-3, Page 3 item 4, Page

          11 items 1-2, Page 12 item 2, Page 17 items 3-4, Page 18 items 6-7, 10-11, Page 21

          items 1-2, Page 22 items 3-4, Page 23 items 5-7, Page 25 item 1, Page 26 items 2-3,

          Page 29 item 1, Page 32 item 3, Page 35 item 1, Page 38 items 1, 3, Page 39 item 12,

          Page 40 item 14, Page 41 items 1, 4, 6, Page 42 items 12-13, Page 43 item 1, Page 44

          items 2-3, Page 46 items 5-6, Page 48 item 2, Page 49 item 4, and Page 53 items 1-2.

   3. There are many individual recommendations in the plan, which standing on their own

       would not be insurmountable but, when combined with the many and draconian aspects of

       the other recommendations, prove impossible or nearly impossible. Defendants

       specifically note as examples:

          •   Documentation. While one new documentation requirement may be achievable for

              the state, in particular front line casework staff who are currently busily carrying

              out their existing responsibilities, the Special Master layers upon 26 explicit

              documentation requirements that are not part of current practice. Defendants

              specifically raise this concern with respect to Page 22 item1, Page 3 item 4, Page12

              item 2, Page 1313 item 6, Page 14 item 9, Page15 items 14 and 16, Page 17 item 2,

              Page 18 items 6, 8, and 11, Page 22 items 3 and 4, Page 23 items 5 and 7, Page 29

              item 2, Page 41 items 1,4, and 6, Page 42 item 1212, page 45 item 4, Page 46 items

              5 and 6, Page 47 item 1, and Page 49 items 4 and 5. Defendants note further that




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              depending on how the recommendations are interpreted and monitored there may

              be additional documentation tasks.

          •   Monitoring concerns. It is unclear from the Plan how many of the

              recommendations will be monitored or enforced but it is likely that the

              recommendations will require either additional case reading staff or IMPACT

              modifications. Standing on their own a few of the recommendations that could be

              monitored using case reading resources could be achieved within existing

              resources. However, when combined, the sheer act of monitoring and tracking

              items to demonstrate compliance will prove a sizeable drain on agency resources.

              Defendants specifically note this concern with respect to Page 2 item 3, Page 15

              items 14, 16, Page 26 item 2, Page 31 item 2, Page 42 items 12-13, Page 44 item 3,

              and Page 48 item 2.

   4. While Defendants object to the Plan in its totality, Defendants also wish to raise to the

       Court’s attention below particularly troubling aspects of the Plan. Failure to specifically

       mention an aspect of the Plan is not agreement on part of the Defendants that the

       recommendation is supportable, advisable, or achievable. Defendants make the following

       additional objections to the following specific items in the Plan:

                    PMC Child-Caseworker Visitation (Plan, pp. 2 et seq.)

       Defendants object to these Plan items as not being tailored to remediate a constitutional

violation because no reliable evidence shows that existing DFPS policies or practices

regarding caseworker visitation and training for visitation pose a substantial, class-wide risk

of depriving PMC children of personal security and reasonably safe living conditions, and no

reliable evidence shows that adopting the Special Master’s recommendations will eliminate




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that purported constitutional harm. The testimony of a few former foster children that they did

not see their caseworkers privately and regularly does not establish that all PMC members

will likely be harmed by a failure to see their caseworkers privately and regularly.

         Current law, policies and practices already substantially overlap the items

recommended by the Special Master. See, e.g., Plan Appendices A and D; CSIP, at p. 2. Orders

requiring the doing of what is already being done are not remedial. Orders requiring the doing of

what is already being done are not remedial. Further, orders simply requiring defendants to

‘obey the law’ uniformly are found to violate the specificity requirement of Fed. R. Civ. P.

65(d).

         Defendants further object because of the logistical challenges of implementing the full

recommendation. The recommendation requires immediate reporting on “all referenced visits”

between child and caseworker with respect to whether the visits include time speaking to the child

in private and any documented exceptions for each quarter. The recommendations appear to

require the agency to report on all the thousands of visits that occur each quarter in order to aid the

monitoring of the Plan—which will consume staff resources for documentation, full time staff

devoted to reading cases for this purposes, and eventually, IMPACT changes—none of which are

realistically achievable immediately.

                           PMC Children’s Records (Plan, pp. 4 et seq.)


         Defendants object to these items as not being tailored to remediate a constitutional violation

because there is no reliable evidence that DFPS’s existing systems for maintaining and accessing

PMC children’s case records pose a substantial, class-wide risk of depriving PMC children of

personal security and reasonably safe living conditions, and no reliable evidence shows that




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adopting the Special Master’s recommendation will eliminate that purported constitutional harm. 16                 15F




The Named Plaintiffs’ experiences are not typical of PMC children generally, and the Named

Plaintiffs’ case files are not typical of PMC children’s case files generally.

        Current law, policies and practices already substantially overlap the items recommended

by the Special Master. See, e.g., Plan Appendices A, D and F; CSIP, at p. 2-3. Orders requiring

the doing of what is already being done are not remedial. Further, orders simply requiring

defendants to ‘obey the law’ uniformly are found to violate the specificity requirement of Fed. R.

Civ. P. 65(d).

        Defendants further object because of the logistical challenges of implementing the full

recommendation. The requirement for a “fully functional system” is an unfunded mandate and

would be impossible to develop and implement within the time allotted. Developing such a system

would be a considerable, years-long undertaking that would require legislative approval and

sizeable appropriations to multiple state agencies and business partners, as well as a lengthy

procurement and implementation timeline (formal procurement, vendor selection, contract

development/execution, system development/testing/implementation). Moreover, the existing

procurement process and newly implemented legislation requires agencies to follow specific

processes to include reviews and approvals by designated state agencies for IT work completed by

a vendor. See S.B. 20, (84th R.S.) (outlining new requirements for state contracting, specifically IT

contracts which extended the procurement process and S.B. 533 (85th R.S.) (requiring additional

steps for state agencies when using vendor services to complete work, in particular the




16
  To the contrary, Texas is one of only 11 states with a fully federally-approved automated child welfare system
(State's Automated Child Welfare Information System (“SACWIS”)). The federal Administration on Children,
Youth and Families, Division of State Systems conducts periodic reviews to assess the Texas SACWIS’s ongoing
compliance with federal regulations. CSIP, n. 12.


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performance of certain activities and review and/or approval from the Comptroller, QAT, LBB

and other entities as required).

    Based on past experience, implementing a complex data exchange with another agency would

require: developing a secure transfer mechanism between the two agencies; identifying,

requesting, and storing the information for inclusion in IMPACT; modifying IMPACT so users

can access the new data; and implementing a minimal reporting capability. In addition to these

requirements, the agency would need to identify the number of systems of record. For the five

record types identified in the Court’s Interim Order, education records are the only type that might

be available from a single source (Texas Education Agency). All other record types—medical,

dental, mental health, and court records, would likely require multiple exchanges for each record

type. For example, court records are not available from a single source, and would require an

exchange with each court or their respective third party electronic filing (e-filing) service provider.

If an e-filing service provider is used, additional costs to obtain the records would likely be

incurred. The overall cost for DFPS to implement a global exchange with known data sources

could easily approach $10 million, exclusive of costs incurred by other state agencies/business

partners and costs paid to third parties. In addition, this effort would likely require several years to

coordinate the large number of exchanges with other agencies, entities and projects.

        The Master recommends that external entities be given integrated, current, complete and

accurate case record information in a manner that is consistent with prevailing federal and state

law. Allowing for external access to be consistent with current law does not alleviate the logistical,

operational, or budgetary concerns associated with this recommendation. This recommendation

discounts the complexity of the many types of records maintained by Defendants and the

configuration of the current case record system, which does not hermetically separate information




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to which external parties would not be entitled including but not limited to FBI criminal history

information, attorney-client privileged communications, social security numbers, or substance

abuse treatment information. To implement the recommendation to allow external access the

agency would be required to violate confidentiality laws or vastly restructure its case record system

in a manner that is not likely to be achievable in the future and will never address existing records.

The Plan is deficient insofar as it fails to address these matters and to provide solutions.

                          Current PMC Child Photograph (Plan, p. 12)

       Defendants object to these items as not being tailored to remediate a constitutional violation

because no reliable evidence shows that DFPS’s existing policy or practices pose a substantial,

class-wide risk of depriving PMC children of personal security and reasonably safe living

conditions, and no reliable evidence shows that adopting the Special Master’s recommendation

will eliminate that purported constitutional harm.

       Current law, policies and practices already substantially overlap the items recommended

by the Special Master. See, e.g., Plan Appendices A and D. Orders requiring the doing of what

is already being done are not remedial. Further, orders simply requiring defendants to ‘obey

the law’ uniformly are found to violate the specificity requirement of Fed. R. Civ. P. 65(d).


      Screening and Investigating Reports of Abuse/Neglect Regarding PMC Children
                                   (Plan, pp. 12 et seq.)

       Defendants object to these items as not being tailored to remediate a constitutional violation

because no reliable evidence shows that DFPS’s existing policy or practices pose a substantial,

class-wide risk of depriving PMC children of personal security and reasonably safe living

conditions, and no reliable evidence shows that adopting the Special Master’s recommendation

will eliminate that purported constitutional harm.




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       Current law, policies and practices already substantially overlap the items recommended

by the Special Master. See, e.g., Plan Appendices A, E, F, H and I; CSIP 5. DFPS already operates

a 24-hour abuse and neglect hotline, Statewide Intake, and no reliable evidence shows that DFPS’s

existing policy or practices regarding reporting abuse or neglect pose a substantial, class-wide risk

of depriving PMC children of personal security and reasonably safe living conditions, and no

reliable evidence shows that adopting the Special Master’s Plan will eliminate that purported

constitutional harm. Orders requiring the doing of what is already being done are not remedial.

Further, orders simply requiring defendants to ‘obey the law’ uniformly are found to violate

the specificity requirement of Fed. R. Civ. P. 65(d).

       Defendants further object because of the logistical challenges of implementing the full

recommendation. Requiring phone lines in every home that houses a PMC child would require

funding (and possibly an increase in the foster care daily rate, which would require legislative

approval and an appropriation) and additional resources for monitoring/enforcement. It may

also prevent unverified kinship placements from becoming verified and may result in

placements deciding not to foster. It could also increase placement disruptions - if caregiver

refuses to obtain a landline, would DFPS be forced to remove the child? DFPS maintains its

current practices are adequate to ensure access. In May, 2017, DFPS mentioned to the Special

Master as an alternative to landlines educating foster children/youth about their option to

report maltreatment to school teachers, counselors, nurses, CASA staff and volunteers, CPS

caseworkers, attorneys ad litem, residential providers’ case managers, or relatives. Available

data indicates it is far more common for PMC children and youth to report abuse/neglect to

these trusted individuals than to call SWI. The items in this category section include several

documentation and reporting requirements that collectively would saddle the agency with a




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tremendous administrative burden that would detract staff from conducting more essential

child welfare activities. The Plan is deficient insofar as it fails to address these matters and to

provide solutions.


               PMC Youths’ Preparation for Independence (Plan, pp. 17 et seq.)

        Defendants object to these items as not being tailored to remediate a constitutional violation

because no reliable evidence shows that DFPS’s existing policy or practices with respect to

preparation of PMC youth for independence pose a substantial, class-wide risk of depriving PMC

children of personal security and reasonably safe living conditions, and no reliable evidence shows

that adopting the Special Master’s recommendation will eliminate that purported constitutional

harm.

        Current law, policies and practices already substantially overlap the items recommended

by the Special Master. See, e.g., Plan Appendix A; CSIP at pp. 6-7. Orders requiring the doing of

what is already being done are not remedial. Further, orders simply requiring defendants to ‘obey

the law’ uniformly are found to violate the specificity requirement of Fed. R. Civ. P. 65(d).

        Defendants further object because of the logistical challenges of implementing the full

recommendation. Overall, it would demand major state appropriations and would nonetheless be

impossible in large part to implement. Services Starting at Age 14 (requirements 3, 4 and 7) are

unfunded mandates that would require a legislative appropriation. Many services are not provided

to youth until age 15 or 16. Requiring these services for youth beginning at age 14 would require

FTEs for additional PAL staff and funding to contract with additional PAL providers. The

Legislature has already addressed which services are appropriate for the population; these

recommendations exceed Legislature’s actions. Requiring assessments to be conducted as

recommended and requiring documentation in IMPACT could be extremely onerous depending



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on how they are applied. Regarding, Additional Permanency Planning Meetings (requirement 7)

– the legislature adopted in statute authority for DFPS to determine appropriate frequency of these

meetings in rule. Recommendation overlooks both statute and rule. Driver’s Ed (requirement 10)

is an unfunded mandate estimated to cost approximately $1 million general revenue funds, which

would require legislative direction and an appropriation. In addition, any experiential learning

required of a driver’s ed course may require additional insurance requirements for foster parents,

kinship caregivers, and providers. It is unclear whether DFPS could require caregivers to carry

children on their insurance for this purpose. Many insurance carriers do not cover foster children

so it is also unclear whether insurance can be obtained even if foster parents are willing.

Requirement also assumes all children who are old enough and choose to take driver's ed are

developmentally ready to safely participate in the course. The 85th Texas Legislature considered

making driver's ed mandatory, but declined to enact.Safe, Stable Housing (requirement 11), if

read to require DFPS to arrange and pay for housing, is an unfunded mandate that would require

legislative direction and a substantial appropriation. Also, when youth turn age 18, they may

determine where they live, including returning to the home from which they were previously

removed, which may not be considered safe or stable. The Plan is deficient insofar as it fails to

address these matters and to provide solutions.

                 Attorneys ad Litem for PMC Children (Plan, pp. 21 et seq.)

       Defendants object to these items as not being tailored to remediate a constitutional violation

because no reliable evidence shows that DFPS’s existing policy or practices with respect to ad

litem representation of children in PMC pose a substantial, class-wide risk of depriving PMC

children of personal security and reasonably safe living conditions, and no reliable evidence shows




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that adopting the Special Master’s recommendation will eliminate that purported constitutional

harm.

        Defendants further object on the basis that this issue was never tried, is without support in

the evidentiary record, is erroneous as a matter of law, and pertains to a matter for which the

Special Master has no demonstrated expertise.

        Defendants further object on the basis that the recommendation contradicts state law

making payment of attorney fees a function of counties (Texas Family Code section 107.015) and

that any arrangement involving DFPS paying attorney’s fees poses ethical questions and likely

conflicts of interest.

                          PMC Children’s Health (Plan, pp. 22 et seq.)

        Defendants object to these items as not being tailored to remediate a constitutional violation

because no reliable evidence shows that Defendants’ existing policy or practices regarding PMC

children’s health pose a substantial, class-wide risk of depriving PMC children of personal security

and reasonably safe living conditions, and no reliable evidence shows that adopting the Special

Master’s recommendation will eliminate that purported constitutional harm.

        Current law, policies and practices already substantially overlap the items recommended

by the Special Master. See, e.g., Appendices A, D, F, and I. Orders requiring the doing of what is

already being done are not remedial. Further, orders simply requiring defendants to ‘obey the law’

uniformly are found to violate the specificity requirement of Fed. R. Civ. P. 65(d).

        Defendants further object because of the logistical challenges of implementing the full

recommendation. Overall, these items saddle Defendants with extremely burdensome

documentation requirements and IT demands, which overlook state legislative decision- making.

The Plan requires staff to not only make “every effort” to obtain medical records in the very busy




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twenty-four hours following a removal when they have issues like placement and immediate needs

to think about, but also requires them to document their efforts within the next twenty-four hours.

The Texas Legislature worked hard to minimize prescriptive documentation requirements and

enable caseworkers to spend more time with children and families. These items also require staff

or medical providers to document information in all medical fields in IMPACT and to document

all screening results including needed follow up. This is an unnecessary requirement for major

resources. Medical information can be reviewed and staff and caregivers can follow up as needed

without demanding so many resources for documenting in the electronic case record system. These

recommendations also amount to an inefficient use of taxpayer resources when the Health Passport

exists for same/similar purpose. Both the Legislature (through Appropriations Act and statutory

requirements in TFC 266.003) and the Centers for Medicaid Medicare Services (through grant)

allocate resources to the development of the Passport. DFPS would be required to reconfigure its

IMPACT system to create functionality for inputting screening results, follow-up/red flag alerts,

and caseworker health status information. These recommendations in large part will be impossible

to complete in the time frames suggested. The Plan is deficient insofar as it fails to address these

matters and to provide solutions.

                           Caseworker Caseload (Plan, pp. 24 et seq.)

       Defendants object to these items as not being tailored to remediate a constitutional violation

because no reliable evidence shows that DFPS’s existing policy or practices as to caseworker

caseloads pose a substantial, class-wide risk of depriving PMC children of personal security and

reasonably safe living conditions, and no reliable evidence shows that adopting the Special

Master’s recommendation will eliminate that purported constitutional harm.




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       Current law, policies and practices already substantially overlap the items recommended

by the Special Master. See, e.g., Appendices A and H, CSIP at pp. 8-12. Orders requiring the doing

of what is already being done are not remedial. Further, orders simply requiring defendants to

‘obey the law’ uniformly are found to violate the specificity requirement of Fed. R. Civ. P. 65(d).

       Defendants further object because of the logistical challenges of implementing the full

recommendation. These items are impossible to implement in timeframe required. Legislative

appropriations and additional FTE authority are needed for FTEs to lower caseloads and to ensure

that employee turnover does not affect caseload numbers. Positions would be needed that are

designated to cover caseloads for staff when a worker is out on FMLA or there is turnover in the

unit to ensure that caseloads do not go over the cap. This would be contrary to sustaining the

child/caseworker relationship as fluctuations in caseload size through increased removals or exits

could require transfer of cases between staff.

       It is impossible for DFPS to begin recruiting and hiring immediately. DFPS continually

hires to its cap and due to allocated appropriations, is not able to hire above the cap. To do so

would require emergency appropriation. The Plan is deficient insofar as it fails to address these

matters and to provide solutions.

                                Supervisors (Plan, pp. 27 et seq.)

       Defendants object to these items as not being tailored to remediate a constitutional violation

because no reliable evidence shows that DFPS’s existing policy or practices regarding caseworker

supervisors pose a substantial, class-wide risk of depriving PMC children of personal security and

reasonably safe living conditions, and no reliable evidence shows that adopting the Special

Master’s recommendation will eliminate that purported constitutional harm.




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                             Worker Retention (Plan, pp. 30 et seq.)

       Defendants object to these items as not being tailored to remediate a constitutional violation

because no reliable evidence shows that DFPS’s existing policy or practices regarding worker

retention pose a substantial, class-wide risk of depriving PMC children of personal security and

reasonably safe living conditions, and no reliable evidence shows that adopting the Special

Master’s recommendation will eliminate that purported constitutional harm.

       Current law, policies and practices already substantially overlap the items recommended

by the Special Master. See, e.g., Plan Appendix A; CSIP at pp. 13-15. Orders requiring the doing

of what is already being done are not remedial. Further, orders simply requiring defendants to

‘obey the law’ uniformly are found to violate the specificity requirement of Fed. R. Civ. P. 65(d).

                            Secondary Workers (Plan, pp. 32 et seq.)

       Defendants object to this item as not being tailored to remediate a constitutional violation

because no reliable evidence shows that DFPS’s existing policy or practices regarding the use of I

See You workers pose a substantial, class-wide risk of depriving PMC children of personal security

and reasonably safe living conditions, and no reliable evidence shows that adopting the Special

Master’s recommendation will eliminate that purported constitutional harm.

       Defendants further object to this item insofar as it is based on Plan Appendix B, Key

Findings: Texas Child Protective Services, I See You Workload Study (the “Report”), because the

Report is inadmissible hearsay and the opinions therein fail to meet both the relevancy and

reliability requirements of Fed. R. Evid. 702. The findings are irrelevant because the author has

failed to apply a standard based on what is necessary for compliance with the Fourteenth

Amendment. The findings are unreliable because the Report fails to establish that the data

gathering was done in a statistically valid way and fails to account either for all seasonal impacts




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or all reasons why an ISY worker might not conduct a visit. The Report is also inadmissible

because the original engagement for its generation was in violation of and outside the scope of the

original special master appointment order (Doc. 379), as set forth in Defendants’ February 15,

2017, comprehensive objections to the proposed engagement of Dr. Osborne and CFRP (Doc.

510). The Court, in error Defendants contend, struck those objections next day, February 16, and

thereafter refused to reinstate them on Defendants’ motion for same (Doc. 516).

       Defendants further object because of the logistical challenges of implementing the full

recommendation. Given the size of Texas and occurrence of placements located far from primary

caseworkers, secondary caseworkers enabled primary caseworkers to have more time to spend

with children. The prohibition in this item will impose unnecessary additional burdens on

caseworkers. The Plan is deficient insofar as it fails to address these matters and to provide

solutions.

                     Residential Child Care Licensing (Plan, pp. 35 et seq.)

       Defendants object to these items as not being tailored to remediate a constitutional violation

because no reliable evidence shows that HHSC’s existing policy or practices regarding the

licensing, inspection, and investigation of foster care facilities pose a substantial, class-wide risk

of depriving PMC children of personal security and reasonably safe living conditions, and no

reliable evidence shows that adopting the Special Master’s recommendation will eliminate that

purported constitutional harm.

       Current law, policies, and practices already substantially overlap the items recommended

by the Special Master. See, e.g., Plan Appendices A and I; CSIP at pp. 18-21. Orders requiring the

doing of what is already being done are not remedial. Further, orders simply requiring defendants




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to ‘obey the law’ uniformly are found to violate the specificity requirement of Fed. R. Civ. P.

65(d).

         Defendants further object to this item insofar as it is based on Plan Appendix C, Key

Findings: Texas Child Protective Services Workload Studies, RCCL Workload Study (the

“Report”), because the Report is inadmissible hearsay, and the opinions therein fail to meet both

the relevancy and reliability requirements of Fed. R. Evid. 702. The “reasonable caseload” findings

are irrelevant because the author has failed to apply a standard based on what is necessary for

compliance with the Fourteenth Amendment. The findings are unreliable because the Report

acknowledges inconsistencies in the data as gathered, the author does not adequately disclose the

methodology for adjustments, fails to account for changing worker responsibilities after September

1, 2017, assumes without justification that June is a representative month both for time and

caseloads, is based on a review of only new cases, in which time is front-loaded, fails to justify

using median instead of average caseloads, and does not account for the impact on case completion

of factors outside the control of RCCL. The Report is also inadmissible because the original

engagement for its generation was in violation of and outside the scope of the original special

master appointment order (Doc. 379), as set forth in Defendants’ February 15, 2017,

comprehensive objections to the proposed engagement of Dr. Osborne and CFRP (Doc. 510). The

Court, in error Defendants contend, struck those objections the next day, February 16, and

thereafter refused to reinstate them on Defendants’ motion for same (Doc. 516).

         Defendants further object because of the logistical challenges of implementing the full

recommendation. The Plan includes a requirement that RCCL inspectors maintain a caseload of

no more than 14 investigations for cases involving the PMC class (Plan, item 2). RCCL

Investigations are not tracked by a child’s legal status; therefore, this could not be accomplished




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without applying it to all investigations which is not feasible. This item also requires a workload

adjustment for staff with a mixed caseload of investigations and other duties. Following the

transformation that occurred on September 1, 2017, parts of RCCL were split between HHSC and

DFPS, and the RCCL positions formerly called "generalists" no longer exist. These positions were

located in rural areas and had a combined workload of abuse/neglect investigations and inspector

workloads. While these positions no longer exist, each inspector has always had a combined

workload of operations, standards investigations, and sampling of foster homes. Since inspectors

have combined workloads, it is unclear how these workloads should be adjusted to comply with

this requirement. Furthermore, these caseload limitations would require RCCL to request

additional positions, necessitating further legislative approval and funding.

       The Plan prohibits employment of staff with “a negative child welfare history” at certain

child care operations (Plan, item 3). RCCL already implements a thorough background check

process as prescribed in statute and rule. See Tex. Hum. Res. Code Ann. § 42.056 and 40 Tex.

Admin. Code Ann. Chapter 745, Subchapter F. hese requirements go far beyond prospective

employees and adoptive and foster parents and extend as far as anyone who is 14-years-old or

older who regularly or frequently stays or works at a facility or prospective foster or adoptive

home. Except for background checks related to kinship homes, any person found to have

perpetrated child abuse who has exhausted due process is already automatically barred from

employment in these settings based on current rule. On the other hand, persons who have

perpetrated child neglect and have exhausted due process currently have a right to request a risk

evaluation under current rule. See Tex. Hum. Res. Code Ann. §§ 42.0704, 42.0705, 42.071, and

42.0702, and 40 Tex. Admin Code. Ann. §§ 745.657, 745.659 and 745.681-.711 (statutes and rules

that provide eligibility for a risk evaluation for specific types of central registry findings, the




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consequences for central registry findings and criminal history in general terms, and the risk

evaluation process). Of course, a finding of neglect can be as serious as any finding of abuse and

could reflect that the person is beyond rehabilitation; a person with such a finding would not get

an approved risk evaluation. But “neglect” is defined broadly enough to capture other persons who

can be rehabilitated with extra training or a limitation on the person’s role at the facility. The

administrative law judges who hear cases related to neglect findings are aware of the risk-

evaluation process and may take this process into account when making findings of fact in favor

of upholding the finding. In short, RCCL believes that eliminating the risk evaluation process for

persons with neglect findings would have the unintended consequence of having less safe childcare

settings, as fewer sustained neglect findings will result in fewer persons even requiring a risk

evaluation and any appropriate requirements or restrictions that may occur under the current rules.

Eliminating this risk evaluation process not only conflicts with current rules, but may also pose an

issue for the operations that employ them by impacting their staffing ratios. This could affect the

ability of child care operations to meet ratio requirements while new staff are employed and

trained. Some operations in rural areas have a very limited available staffing pool. Compliance

with this requirement could cause some operations to decrease much needed capacity in order to

maintain current ratio requirements. Group homes verified by a child placing agency with such

individuals may have to close, thereby causing a decrease in capacity for foster homes. There was

no evidence that staff who have had risk evaluations pose an unconstitutional risk to children in

PMC. Eliminating risk evaluations is unnecessary, unjustified and will harm delivery of foster care

to children.

       The Plan requires RCCL inspectors to follow certain current policy practices related to

completion and documentation of various priority investigations, as well as finalize notification




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letters, within certain specified required timeframes. (Plan. items 7, 8, 9, 10, and 11). These policy

requirements are already contained in the CCL Policy and Procedure Handbook. RCCL staff are

currently trained to follow the timeframes in policy. RCCL has a monthly Quality Assurance (QA)

report that all supervisors, program administrators, and directors have access to. The QA report

measures timeliness of annual inspections, timeliness of initiating investigations, and timeliness

of completing investigations within policy requirements. The QA report also lists any staff who

missed any of the above-mentioned timeframes. RCCL managers address any missed timeframes

with the identified staff person, identify patterns in the employee’s performance, and work with

the individual to make needed corrections in compliance with HHSC Human Resource policies.

Although RCCL strives for full and timely compliance, it is not realistic or feasible to expect 100%

compliance in meeting all timeframes at all times. Factors outside the employee's control may

interfere with the ability to achieve time requirements. Current Policy allows for some exceptions

to completing investigations under certain circumstances, which acknowledges there are occasions

when the required timeframes cannot be met.

       The Plan requires RCCL to modify its existing public website by March 2018 to add

information not currently included (Plan, item 12). RCCL currently has a robust public website

that contains information specific to residential operations. The website provides thorough

inspection information, including the specific standards that were evaluated, a full narrative of any

deficiencies found, the deadline for the child care operation to correct any deficiencies, and the

date RCCL confirmed all corrections were completed. The website also contains a check box

indicating if an operation is placed on corrective or adverse action. The website does not currently

contain detailed information regarding how the operation made the corrections nor does it contain

the full details of what RCCL considers corrective action, which is part of the enforcement




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framework. This information is contained elsewhere for DFPS review. The website is intended for

public use. DFPS staff do not use the public website to make decisions regarding child placement.

DFPS has access to the Child Care Licensing Automation System (CLASS) which includes all of

the additional information required by these Items in the Plan. In addition, RCCL and DFPS meet

regularly in Facility Intervention Team Staffings (FITS) to discuss child care operations that are

struggling or are on corrective action. The modifications necessary to comply with this Item would

require technology alterations and additional funding through the legislative process, to add

information not necessary for public use, and which could not be completed by the March 2018

deadline.

        The Plan requires RCCL to track patterns and address concerns at operations that show a

pattern of contract or policy violations (Plan, item 13). RCCL currently tracks patterns and

addresses concerns related to minimum standards, which includes, inspecting certain operations

more frequently, implementing corrective actions, and utilizing the enforcement framework.

RCCL does not have authority to track and correct contract violations. DFPS monitors and

addresses contract violations. It is unclear what this Item is intended to require for RCCL as it

addresses functions that RCCL already performs routinely or functions that RCCL is not

authorized to perform.

        The Plan indicates RCCL ". . . shall have the right to directly suspend or revoke the license

of a placement . . . ." (Plan, item 14). It is unclear what additional requirement is intended by this

item. RCCL currently has the authority to revoke or suspend a license to protect children. This

authority is outlined in statute and further clarified in rule. For a suspension or revocation to occur,

RCCL staff must follow the statute, rule, and Child Care Licensing policies. Once the intent to

revoke or suspend a license is issued, the child care operation has due process rights outlined in




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statute and rule. See Tex. Hum. Res. Code Ann. §§ 42.0704, 42.0705, 42.071 and 42.072 (statutory

authority for license revocation and suspension) and 40 Tex. Admin. Code Ann. Chapter 745,

Subchapters L and M. RCCL could not enforce item 14 more vigorously than it currently does

without negating a licensee’s state law rights to due process. Any change to current enforcement

policy and practice would violate state statutes and rules. There was no evidence whatsoever that

the existence of state procedural due process subjected all children in licensed foster care to

unconstitutional harm.

       The Plan requires the "entity charged with inspections of child care placements" to consider

certain listed referrals and findings during placement inspections (Plan, item 15). It also requires

this same entity to monitor an operation’s adherence to certain listed reporting requirements and

investigate violations to determine appropriate corrective action. This requirement is not clear and

potentially violates state law as worded. DFPS makes child placements and RCCL conducts

inspections. State law regulates the role and authority of each agency; therefore, this item cannot

be implemented as worded. RCCL does monitor through the inspection and investigation process

an operation’s adherence to reporting suspected abuse/neglect. If a lapse is found, RCCL works

with the operation to make needed corrections through RCCL’s enforcement framework.

Operations placed on corrective or adverse action for issues or patterns related to not reporting

suspected abuse/neglect are shared by RCCL with DFPS. RCCL cannot modify or terminate a

contract. The contract is a DFPS requirement and must by modified or terminated by DFPS.

       The Plan is deficient insofar as it fails to address these matters and to provide solutions.

                               Sexual Abuse (Plan, pp. 40 et seq.)

       Defendants object to these items as not being tailored to remediate a constitutional violation

because no reliable evidence shows that DFPS’s existing policy or practices regarding the




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definition and investigation of sexual abuse and the treatment of PMC children involved in sexual

abuse pose a substantial, class-wide risk of depriving PMC children of personal security and

reasonably safe living conditions, and no reliable evidence shows that adopting the Special

Master’s recommendation will eliminate that purported constitutional harm.

       Current law, policies and practices already substantially overlap the items recommended

by the Special Master. See, e.g., Plan Appendices A, F, I, and L; CSIP at pp. 22-23. Orders

requiring the doing of what is already being done are not remedial. Further, orders simply requiring

defendants to ‘obey the law’ uniformly are found to violate the specificity requirement of Fed. R.

Civ. P. 65(d).

       Defendants further object because of the logistical challenges of implementing the full

recommendation. Several of the recommendations have the potential to harm children by labeling

and stigmatizing them for the entirety of their stay in care. Specifically: prominently labeling

victims; requiring that victimization or sexual aggression/behavior problems be fully documented

at all placements and in all forms regardless of the length of time that has elapsed since the event,

the child’s treatment progress, or how the child identifies. Recommendation 6 requires DFPS to

identify children at high risk for perpetrating sexual assault. The Special Master has provided no

information on why this is advisable, how it is achievable, and how (or why) rank and file casework

staff are to be trained to predict the potential of future assault. To the extent DFPS will be required

to make IMPACT modifications to the Common Application and Child’s Plan of Service and to

retrain staff, additional appropriations will be necessary. The Plan is deficient insofar as it fails to

address these matters and to provide solutions.




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                        PMC Children’s Placements (Plan, pp. 43 et seq.)

       Defendants object to these items as not being tailored to remediate a constitutional violation

because no reliable evidence shows that DFPS’s existing policy or practices regarding PMC

children placements pose a substantial, class-wide risk of depriving PMC children of personal

security and reasonably safe living conditions, and no reliable evidence shows that adopting the

Special Master’s recommendation will eliminate that purported constitutional harm.

       Current law, policies and practices already substantially overlap the items recommended

by the Special Master. See, e.g., Plan Appendices A and H. Orders requiring the doing of what is

already being done are not remedial. Further, orders simply requiring defendants to ‘obey the law’

uniformly are found to violate the specificity requirement of Fed. R. Civ. P. 65(d).

       Defendants further object because of the logistical challenges of implementing the full

recommendation. Recommendations 1 and 2 are impossible to implement in timeframe provided.

Also, a “no” risk obligation is unrealistic and unachievable expectation. Further, to implement all

of the items in this category DFPS would need substantial new budget appropriations for IT

funding and staff resources. Recommendations 4 through 6 are potentially detrimental to children

and families due to their inflexibility. They also far exceed the requirements in state or federal law.

Because the exceptions permitted are so narrow, implementation may impact permanency for some

children who are in the process of transitioning to relatives, being placed in an adoptive placement,

for whom no less restrictive placement can be located in proximity to the family. DFPS will need

substantial funding to recruit additional family-like placements, particularly for youth between the

ages of 6 and 13. . Extraordinary additional resources would be needed for recruitment, training

and development of foster homes that accept intense, specialized, treatment services youth. The

recommendations would result in DFPS being unable to utilize shelter placements for children in




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PMC, thus increasing the likelihood of intermittent sibling disruptions between foster family

placements or children being without placements due to a lack of capacity or vacancies in

placements. There are many reasons that shelters are used. As examples, a child placement in a

kinship home suddenly disrupts and the child requires discharge immediately, a child who was on

runaway is located, or there is a gap between a discharge and an opening in a subsequent

placement. In those circumstances, a child may be temporarily placed into a shelter until the child

can transition to the next placement. The Plan is deficient insofar as it fails to address these matters

and to provide solutions.

                            DFPS Placement Array (Plan, pp. 46 et seq.)

        Defendants object to these items as not being tailored to remediate a constitutional violation

because no reliable evidence shows that DFPS’s existing policy or practices regarding the array of

foster care placements pose a substantial, class-wide risk of depriving PMC children of personal

security and reasonably safe living conditions, and no reliable evidence shows that adopting the

Special Master’s recommendation will eliminate that purported constitutional harm.

        Current law, policies and practices already substantially overlap the items recommended

by the Special Master. See, e.g., Plan Appendices A, D, E, and I; CSIP at pp. 24-45. Orders

requiring the doing of what is already being done are not remedial. Further, orders simply requiring

defendants to ‘obey the law’ uniformly are found to violate the specificity requirement of Fed. R.

Civ. P. 65(d).

        Defendants further object because of the logistical challenges of implementing the full

recommendation. he expectations for implementation of recommendation 2 are unrealistic. It

would require major budget appropriation and resources outside of agency's control. DFPS does

engage in recruitment and capacity-building efforts based on capacity needs, but cannot compel




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private citizens to become foster parents or providers to open placements. Residents of Texas have

the right to choose whether or not they want to serve as foster parents. It is not something that the

state can mandate, therefore the ability to "ensure" a certain number of homes in a given area of

the state is outside of the department's control. Zoning requirements and natural disasters, such as

Hurricane Harvey, also represent examples of issues outside of the agency's control. Requiring a

set number of foster homes is an overly simplistic approach to determining capacity. One home,

yielding a set number of beds does not translate to the same number of children having placement.

The home must have the appropriate skills and be set up to meet the individual needs of the child

who requires placement in order to be considered a viable placement option. Recommendation 3

also sets an unreasonable expectation for implementation. It requires data not readily accessible

and circumvents requirements of Texas Family Code Section 264.1261. Recommendation 4 also

sets an unrealistic expectation for implementation. Immediate implementation is impossible. No

funding for this purpose was appropriated during the 2017 session. Additionally, the development

of the necessary technology is not feasible immediately and will likely require roughly two years

to build and implement. The timeframe for completion of this task is not possible due to the IT

system changes and/or manual resources required to accurately collect this information report in

aggregate form. The Plan is deficient insofar as it fails to address these matters and to provide

solutions.

                        Foster Care Group Homes (Plan, pp. 49 et seq.)

       Defendants object to these items as not being tailored to remediate a constitutional violation

because no reliable evidence shows that DFPS’s existing policy or practices regarding Foster

Group Homes, without regard to number, or any other homes with more than six children pose a

substantial, class-wide risk of depriving PMC children of personal security and reasonably safe




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living conditions, and no reliable evidence shows that adopting the Special Master’s

recommendation will eliminate that purported constitutional harm.

       Forced closure of all Foster Group Homes (FGH) without regard to the number of children

in the home, as required by the first item in this category, will cause unnecessary and unjustified

disruptions of foster children’s placements, both for FGH homes with six or fewer children, as to

which there was no evidence whatsoever of constitutional harm, and for FGH homes with greater

than six children, as to which there was no reliable class-wide evidence of constitutional harm.

The number of unnecessary and unjustified disruptions of all children in all Foster Group Homes

would exceed over 100. They are contrary to good child welfare practice. They will disrupt

families and uproot children from stable placements.

   Defendants object to this item 2 on the further basis that it contradicts state law (in practical

effect, declaring it unconstitutional) with respect to the licensing verification of foster family

homes. This item, if enforced, would prohibit any foster home from having more than six children.

HB 7, Acts 2017, 85th Leg., R.S., Ch. 317, eff. September 1, 2017, eliminated foster group homes

and allowed foster family homes (for the first time) to expand capacity for up to eight children

with certain exceptions to be defined by rule. The Legislature is presumed to have considered the

competing policy concerns and approaches in place in other states that permit capacity in foster

family homes up to eight children, as well as the Court’s injunction that foster group homes with

more than six children should have 24-hour awake night supervision. The Texas Legislature

considered the options and determined that allowing up to eight children in a foster family home

was appropriate; the Texas Legislature considered the various possibilities and did not require 24-

hour awake night supervision for Texas foster family homes.




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            Moreover, the Legislature afforded HHSC the authority to promulgate in regulation

additional parameters related to foster family homes. Particularly salient here is the Legislature’s

decision to grandfather existing homes and allow for a well-planned transition to a new regulatory

structure. See H.B. 7 § 78 (requiring HHSC to development and implement a procedure for

transitioning existing foster group homes to another license type; continuing prior law in effect

until all foster group homes converted to foster family homes or closed). The Texas Legislature

specifically decided it was appropriate to take a measured approach to transitioning away from

foster group homes. The Special Master specifically substitutes his judgment on this point, to the

detriment of Texas children. In addition, HHSC is in the process of proposing rules related to these

exceptions, including a rule that makes such exceptions temporary not permanent, and copies have

already been posted in Texas Register. There has been no evidence whatsoever, either individually

or on a class-wide basis, that allowing foster family homes to expand (temporarily) to eight

children violated the Fourteenth Amendment. Compliance with this item would not only violate

state law, and the proposed rules, but would also cause confusion among the relevant public and

may interfere with state notice and comment rulemaking.

            The Plan includes a requirement that no PMC child may reside in any foster home that

houses more than six children (Plan, item 2). There was no evidence whatsoever of risk of harm

based on the number of children in non-Foster Group Homes, such as kinship homes, 17 yet this
                                                                                          16F




second item, if enforced by injunction, would cause an even greater number of unnecessary

disruptions than with Foster Group Homes—possible disruptions could be as high as 467 from

cottage-style placements and 282 from kinship placements. Interfering with Texas families based

solely on their size will not only lead to the disruption of existing kinship placements and approved



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     It is noteworthy that the Court refused to certify a kinship class.


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adoptive homes providing safe homes and eventual permanency to children in care, but it may

interfere with the associational rights of the very children it purports to protect. At a minimum, it

will be traumatic and harmful.

       The Plan is deficient insofar as it fails to address these matters and to provide solutions.

                                            Conclusion

  Defendants request that these objections be sustained.

                                              Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on December 19, 2017, a true and correct copy of the foregoing

document has been filed in accordance with the Electronic Document Filing System of the

Southern District of Texas, thus providing service to all participants.

                                              /s/ Thomas A. Albright
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